              Case 1:19-cr-00696-PAE Document 310 Filed 03/03/22 Page 1 of 3

                                        Ari B. Teman

                                                                                   March 3, 2022
                                                                                   Adar I 30, 5782
The Honorable Paul A. Engelmayer
District Judge
Southern District of New York
40 Foley Square,
New York, NY

Re: Motion to be provided sealed transcript of in-Chambers hearing relating to ex parte
call with SDNY, & to provide identities of anyone with-whom Your Honor spoke ex parte,
for the purpose of the appeal.

Your Honor,

Defendant has sought from Southern District Court Reporters the sealed portions of the
transcript relating to a hearing held in Your Honor’s Chambers. Ms. Christine Siwik at that
office has kindly informed me that I must seek permission from the Court to receive this copy.
My incoming appellate counsel needs this transcript. Defendant therefore seeks this permission
herein.

As a reminder to Your Honor, it was at an in-Chambers conference before trial that Your Honor
disclosed you had made an ex parte call to an unnamed supervisor(s) in the United States
Attorney’s Office for the Southern District of New York (heretofore “SDNY”) to encourage
them to give AUSA Gutwillig extra help.

Ms. Sitwik has confirmed the possession of this sealed transcript and directed me to seek
permission from Your Honor to be provided it. (I am willing to pay their fee. I am not seeking it
for free.)

For the record, Defendant made multiple attempts to seek this transcript from the Government
amicably and avoid wasting the Court’s time. Mr. Bhatia made multiple misrepresentations in
email, providing transcripts far outside this event’s date and topic, and then upon being
presented with the exact date, providing only a partial transcript without noting the sealed
portion was not included or noted, and then directed the defendant to the Court Reporters. Mr.
Gutwillig, who was present at the in-Chambers conference is notably silent and/or absent
whenever his answers would self-incriminate. These young men are of the same team
responsible for US v Pizzaro, US v Nejad, and US v Ahuja, surely. Of course, they conspired to
               Case 1:19-cr-00696-PAE Document 310 Filed 03/03/22 Page 2 of 3

hide the Biale-Graham-Engelmayer conflict and eavesdropping set up together with AUSA
Graham, where they admit they knew they were required to disclose the conflict and chose not
to do so. So, there is no question Mr. Bhatia and Mr. Gutwillig are willfully obstructing justice.




Regardless, the defendant respectfully motions for an order directing the court reporters to
provide any and all sealed transcripts to the defendant. Defendant will pay the fees, this is only
a request for the transcripts to be allowed to be provided.

Defendant also request a list of all individuals who joined the call to the extent any individuals
are not identified in the transcript. If Your Honor had any other ex parte communications with
other individuals, such AUSA Margaret Graham, whether directly or indirectly (through Mr.
Biale for example), connected to his case, Defendant requests that you identify the date and
duration of the calls and the identity of the parties on the call.


Defendant believes the ex parte communications referred to above are consistent with evidence
of judicial bias that deprived him of a fair trial. Among other matters, Your Honor later
disclosed that Your Honor and Your Honor’s family held and continues to hold approximately
$1,000,000 in stock in Berkshire Hathaway -- whose second largest holding is Bank of
America, and three of whose top ten holdings are bank stocks -- creating at the least an
appearance of bias in a prosecution aligned with banking interests generally and those of Bank
of America specifically.

Respectfully, legal experts have noted publicly and privately that these young men must feel
confident they can continue to cheat justice under the watch of Your Honor because Your Honor
chooses to ignore exculpatory evidence (as in Dkt. No. 284 and Dkt. No. 29) most likely
because they incriminate Your Honor’s mentee Mr. Biale and his wife AUSA Graham, and Your
Honor’s investment, Bank of America.

Defendant respectfully requests a rapid response to this letter, as it affects his appeal, for which
the Court of Appeals has granted a final extension to April 25, 2022.

Defendant was assisted in drafting this letter by an attorney who intends to file an appearance in
CA2 on his behalf.

Respectfully submitted,
             Case 1:19-cr-00696-PAE Document 310 Filed 03/03/22 Page 3 of 3




Ari Teman
Defendant, Pro Se
